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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

EUGENE FALLS,

Defendant.                                          No. 05-CR-30027-DRH

                                      ORDER

HERNDON, Chief Judge:

      On August 13, 2012, defendant filed a motion for reduction of sentence (Doc.

327). Defendant asks for a retroactive reduction of sentence based on the Fair

Sentencing Act which took effect November 1, 2011. Because the Fair Sentencing Act

is not applicable to Falls, the Court denies the motion.

      On June 2, 2006, the Court sentenced Falls to 240 months imprisonment on

Count 1 and 140 months imprisonment on Counts 3, 4 and 7 to run concurrently

(Doc. 165). Judgment reflecting the same was entered on June 12, 2006 (Doc. 168).

Recently, the Supreme Court decided that the provisions of the 2010 Fair Sentencing

Act, which reduced the 100-to-one crack-to-powder cocaine sentencing guideline

disparity to an 18-to-one ratio, must be applied to any offender sentenced after

August 3, 2010 (the effective date of the Act), regardless of when the unlawful

conduct occurred. Dorsey v. United States, 132 S.Ct. 2321 ( June 21, 2012). As

Falls was sentenced prior to August 3, 2010, the Fair Sentencing Act does not apply


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to Falls. Accordingly, the Court DENIES Falls’ motion for reduction of sentence

(Doc. 327).

      IT IS SO ORDERED.
                                                                  Digitally signed by
      Signed this 13th day of August, 2012.                       David R. Herndon
                                                                  Date: 2012.08.13
                                                                  16:00:28 -05'00'
                                                 Chief Judge
                                                 United States District Judge




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